Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 1 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 2 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 3 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 4 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 5 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 6 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 7 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 8 of 174
Case 19-21054-jrs   Doc 71   Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 9 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 10 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 11 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 12 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 13 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 14 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 15 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 16 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 17 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 18 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 19 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 20 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 21 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 22 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 23 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 24 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 25 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 26 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 27 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 28 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 29 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 30 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 31 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 32 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 33 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 34 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 35 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 36 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 37 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 38 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 39 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 40 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 41 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 42 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 43 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 44 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 45 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 46 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 47 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 48 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 49 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 50 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 51 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 52 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 53 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 54 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 55 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 56 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 57 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 58 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 59 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 60 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 61 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 62 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 63 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 64 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 65 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 66 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 67 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 68 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 69 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 70 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 71 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 72 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 73 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 74 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 75 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 76 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 77 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 78 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 79 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 80 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 81 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 82 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 83 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 84 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 85 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 86 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 87 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 88 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 89 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 90 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 91 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 92 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 93 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 94 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 95 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 96 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 97 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 98 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document      Page 99 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 100 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 101 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 102 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 103 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 104 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 105 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 106 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 107 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 108 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 109 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 110 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 111 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 112 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 113 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 114 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 115 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 116 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 117 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 118 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 119 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 120 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 121 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 122 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 123 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 124 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 125 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 126 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 127 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 128 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 129 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 130 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 131 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 132 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 133 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 134 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 135 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 136 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 137 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 138 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 139 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 140 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 141 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 142 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 143 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 144 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 145 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 146 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 147 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 148 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 149 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 150 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 151 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 152 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 153 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 154 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 155 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 156 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 157 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 158 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 159 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 160 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 161 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 162 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 163 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 164 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 165 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 166 of 174
Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35   Desc Main
                             Document     Page 167 of 174
Case 19-21054-jrs              Doc 71      Filed 06/19/19 Entered 06/19/19 17:50:35        Desc Main
                                          Document     Page 168 of 174


                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                       GAINESVILLE DIVISION

In re:                                                           )
                                                                 ) Chapter 11
AMERICAN HOME PRODUCTS LLC,1                                     )
                                                                 ) Case No. 19-21054-JRS
                              Debtor.                            )
                                                                 ) Judge Sacca
                                                                 )

     GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
        DISCLAIMER REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
           AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        The Schedules of Assets and Liabilities (the “Schedules”) and the Statement of Financial
Affairs (the “SOFA,” and collectively with the Schedules, the “Schedules and Statement”) filed
by American Home Products LLC, the above-captioned debtor and debtor in possession (the
“Debtor”), in the United States Bankruptcy Court for the Northern District of Georgia (the
“Bankruptcy Court”), are unaudited and were prepared pursuant to section 521 of title 11 of the
United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), and Federal Rule of
Bankruptcy Procedure 1007 by the management of the Debtor with the assistance of its advisors.
The Schedules and Statement remain subject to further review and verification by the Debtor.
Subsequent information may result in material changes in financial and other data contained in
the Schedules and Statement. The Debtor has used its best efforts to compile the information set
forth in the Schedules and Statement from its books and records maintained in the ordinary
course of its business. The Debtor reserves its rights to amend the Schedules and Statement from
time to time as may be necessary or appropriate.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding the Schedules and Statement of Financial Affairs (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and Statement.
The Global Notes should be referred to and reviewed in connection with any review of the
Schedules and Statement. In the event that the Schedules and Statement differ from any of the
foregoing Global Notes, the Global Notes shall control.

           1.        Summary of Significant Reporting Policies. The following conventions were
                     adopted by the Debtor in the preparation of the Schedules and Statement:

                a) Description of the Case and “As Of” Information Date. On May 29, 2019 (the
                   “Petition Date”), the Debtor filed a voluntary petition with the Bankruptcy Court
                   under chapter 11 of the Bankruptcy Code. The Debtor continues to operate its

1
    The last four digits of the Debtor’s federal tax identification number are 3418.




{8143197: }
Case 19-21054-jrs         Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35               Desc Main
                                   Document     Page 169 of 174


                 business and manage its property as debtor in possession as authorized by section
                 1107(a) and 1108 of the Bankruptcy Code. Except as noted in the Schedules and
                 Statement or herein, all asset and liability data contained in the Schedules and
                 Statement are stated as of May 29, 2019. In some instances, the Debtor has used
                 estimated amounts where actual data as of May 29, 2019 was not available.

              d) Basis of Presentation. The preparation of the Schedules and Statement required
                 the Debtor to make estimates and assumptions that affect the reported amounts of
                 liabilities, the disclosures of contingent liabilities, and the reported amounts of
                 expenses during the reporting period. Actual results could differ from estimates.
                 Some of the Debtor’s scheduled assets and liabilities are unknown and/or
                 unliquidated at this time. In such cases, the amounts are listed as “Unknown” or
                 “Undetermined.” Accordingly, the Schedules may not fully reflect the aggregate
                 amount of the Debtor’s assets and liabilities. The Debtor has sought to allocate
                 liabilities between pre-petition and post-petition periods based on information
                 from research that was conducted in connection with the preparation of the
                 Schedules. As additional information becomes available and further research is
                 conducted, the allocation of liabilities between pre-petition and post-petition
                 periods may change. Given the differences between the information requested in
                 the Schedules and Statement, and the financial information utilized under
                 generally accepted accounting principles in the United States (“GAAP”), the
                 aggregate asset values and claim amounts set forth in the Schedules and Statement
                 do not necessarily reflect the amounts that would be set forth in a balance sheet
                 prepared in accordance with GAAP.

              e) Authorized Signatory. Gregory Bangs, the Chief Financial Officer of the Debtor,
                 has signed the Schedules and Statement on behalf of the Debtor. Mr. Bangs
                 became Chief Financial Officer of the Debtor in February 2018. In reviewing and
                 signing the Schedules and Statement, Mr. Bangs has necessarily relied upon the
                 efforts, statements, and representations of various personnel of the Debtor and its
                 advisors. Mr. Bangs has not, and could not have, personally verified the accuracy
                 of each such statement and representation, including, for example, statements and
                 representations concerning amounts owed to creditors.

              f) Claims Description. Schedules D and E/F permit the Debtor to designate a claim
                 as disputed, contingent, and/or unliquidated. A failure to designate a claim on any
                 of these Schedules as disputed, contingent, and/or unliquidated does not constitute
                 an admission that such claim is not subject to objection. The Debtor reserves its
                 rights to dispute, or assert offsets or defenses to any claim reflected on these
                 Schedules as to the nature, amount, liability, or status.

              g) Confidential, Private, and Commercially Sensitive Information. In certain
                 instances, the Debtor may have intentionally altered, revised, redacted or
                 consolidated certain information in the Schedules and Statement due to the nature
                 of an agreement between the Debtor and a third party, concerns about the
                 confidential or commercially sensitive nature of certain information or concerns
                 for the privacy of an individual. In addition, in certain instances, the sensitivity of


{8143197: }                                         2
Case 19-21054-jrs         Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35            Desc Main
                                   Document     Page 170 of 174


                 such information may require its omission from the Schedules and Statement. To
                 the extent possible, the alterations, redactions, consolidations and omissions have
                 been limited to the extent determined by the Debtor to be necessary or appropriate
                 to protect the Debtor or third parties while also providing interested parties with
                 sufficient information in response to the Schedules and Statement

              h) Estimates and Assumptions. In preparing the Schedules and Statement, the Debtor
                 was required to make certain estimates and assumptions that affect the reported
                 amounts of assets and liabilities, and the potential values of contingent assets and
                 liabilities on the date the Schedules and Statement were filed and the reported
                 amounts of revenues and expenses during the reporting period. Actual results
                 could differ from those estimates, perhaps materially.

              i) Excluded Asset and Liabilities. Certain deferred charges, accounts, or reserves
                 recorded for GAAP reporting purposes only are not included in the Schedules and
                 Statement.

              j) Executory Contracts and Unexpired Leases. While the Debtor has made
                 reasonable efforts to ensure the accuracy of the executory contracts and unexpired
                 leases listed on Schedule G, inadvertent errors or omissions may have occurred.
                 The Debtor listed substantially all contracts to which the Debtor may be a party
                 on Schedule G. However, some of the Debtor’s business is conducted through
                 purchase orders, and the inclusion of a purchase order or agreement on Schedule
                 G does not does not constitute an admission by the Debtor that such agreement
                 actually constitutes an executory contract or unexpired lease under section 365 of
                 the Bankruptcy Code. The Debtor expressly reserves the right to challenge the
                 status of any agreement included as an executory contract or unexpired lease.
                 Any rejection of executory contracts and unexpired leases under section 365 of
                 the Bankruptcy Code will result in the assertion of rejection damages claims;
                 however, the Schedules and Statement do not reflect any rejection damages
                 claims. The Debtor reserves the right to make any arguments and objections with
                 respect to the assertion of any such claims.

              k) Insiders. For purposes of the Schedules and Statement, the Debtor defines
                 “insiders” pursuant to section 101(31) of the Bankruptcy Code as: (a) directors;
                 (b) officers; (c) persons in control of the Debtor; (d) relatives of directors,
                 officers, or persons in control of the Debtor; and (e) affiliates.

              l) Insurance. The Debtor maintains general liability insurance policies and various
                 other insurance policies, including, but not limited to, property, casualty,
                 automobile, and professional liability insurance policies. The Debtor maintains
                 additional insurance policies essential to the continued operations of the Debtor.
                 The terms of these policies are characteristic of insurance policies typically
                 maintained by business entities that are similar in size and nature to the Debtor.

              m) Net Book Value. Except as otherwise noted, each asset and liability of the Debtor
                 is shown on the basis of the net book value of the asset or liability in accordance


{8143197: }                                        3
Case 19-21054-jrs         Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35               Desc Main
                                   Document     Page 171 of 174


                 with the Debtor’s accounting and/or tax books and records as of May 29, 2019.
                 Unless otherwise noted, the Schedules reflect the carrying value of the assets and
                 liabilities as listed in the Debtor’s books, and are not based upon any estimate of
                 their current market values, which may not correspond to book values.

              n) Property and Equipment – Owned. Unless otherwise noted, owned property and
                 equipment are stated at net book value.

              o) Property and Equipment – Leased. In the ordinary course of business, the Debtor
                 may lease equipment from certain third-party lessors for use in the daily operation
                 of its businesses. Any such leases are set forth in the Schedules and Statement.
                 Nothing in the Schedules and Statement is or shall be construed as an admission
                 or determination as to the legal status of any lease, and the Debtor reserves all
                 rights with respect to any of such issues.

              p) Reservation of Rights. The Debtor reserves all of its rights to amend the
                 Schedules and Statement in all respects, as may be necessary or appropriate,
                 including, but not limited to, the right to dispute or to assert offsets or defenses to
                 any claim reflected on the Schedules as to amount, liability, or classification or to
                 otherwise subsequently designate any claim as “disputed,” “contingent,” or
                 “unliquidated.”

         2. Specific Schedules and Statement Disclosures

              a) Schedule A/B Questions 39-42 – Office Equipment, Furnishings, and Supplies.
                 Assets in these categories include office furnishings, such as tables, chairs,
                 decorations, office equipment, computer software, and furniture.

              b) Schedule A/B Question 50 - Machinery, Fixtures, Equipment, and Supplies Used
                 in Business. Assets in this category primarily include facility operating
                 equipment, machinery, and processing equipment. The Debtor also leases a
                 number of pieces of machinery and equipment. These assets are all listed at net
                 book value as reflected in the Debtor’s books and records.

              c) Schedule D - Creditors Holding Secured Claims. The claim amount balances
                 listed on Schedule D are as of May 29, 2019. Although the Debtor may have
                 scheduled claims of various creditors as secured claims for informational
                 purposes, no current valuation of the Debtor’s assets in which such creditors may
                 have a lien has been undertaken.

                 The descriptions in Schedule D are intended only to be a summary. Reference to
                 the applicable loan agreements and related documents and a determination of the
                 creditors’ compliance with applicable law is necessary for a complete description
                 of the collateral and the nature, extent and priority of any liens. Nothing in the
                 Global Notes or the Schedules and Statement shall be deemed a modification or
                 interpretation of the terms of such agreements or related documents.




{8143197: }                                         4
Case 19-21054-jrs         Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35             Desc Main
                                   Document     Page 172 of 174


                 The Debtor has not included on Schedule D parties that may believe its claims are
                 secured through setoff rights, deposits posted by, or on behalf of, the Debtor, or
                 inchoate statutory lien rights.

              d) Schedule E/F - Creditors Holding Unsecured Priority Claims and Creditors
                 Holding Unsecured Claims. The Bankruptcy Court has authorized the Debtor to,
                 inter alia, continue to pay certain prepetition wages, salaries and employee
                 benefits, continue to pay prepetition sales, use and other taxes, and continue to
                 pay certain other allowed prepetition payments. Accordingly, to the extent
                 prepetition amounts have been paid in accordance with the Bankruptcy Court
                 orders prior to filing of the Schedules, such claim amounts may or may not be
                 listed.

                 Further, certain potential or actual priority claims may be subject to audit, and the
                 Debtor is otherwise unable to determine with certainty the amount of many, if not
                 all, of these claims. Therefore, the Debtor has listed all such claims as unknown in
                 amount, pending final resolution of ongoing audits or other outstanding issues.

                 Schedule E/F may include certain deferred liabilities or general reserves. Such
                 amounts are reflected on the Debtor’s books and records as required in
                 accordance with GAAP. Such accruals are general estimates of liabilities and
                 may or may not represent specific claims as of May 29, 2019. Schedule E/F also
                 reflects prepetition amounts owed to counterparties to executory contracts and
                 unexpired leases.

              e) Schedule G - Executory Contracts and Unexpired Leases. Although reasonable
                 efforts have been made to ensure the accuracy of Schedule G regarding executory
                 contracts and unexpired leases, the Debtor’s review is ongoing and inadvertent
                 errors, omissions, or over-inclusion may have occurred. The Debtor may have
                 entered into various other types of agreements in the ordinary course of its
                 business, such as supplemental agreements, amendments/letter agreements, non-
                 compete agreements, and confidentiality agreements. Such documents may not
                 be set forth in Schedule G.

                 The Debtor expressly reserves the right to challenge the status of any agreement
                 included as an executory contract or unexpired lease. Certain of the contracts,
                 agreements, and leases listed on Schedule G may contain renewal options,
                 guarantees of payments, options to purchase, rights of first refusal, rights to lease
                 additional space and other miscellaneous rights. Such rights, powers, duties and
                 obligations may not be set forth on Schedule G. The Debtor reserves all of its
                 rights, claims and causes of action with respect to the contracts and agreements
                 listed on Schedule G.

              f) Schedule H - Co-Debtors. The Debtor does not have any co-debtors of which the
                 Debtor are aware at this time; however, the Debtor hereby reserves all rights to
                 further amend or supplement such Schedule as necessary.



{8143197: }                                        5
Case 19-21054-jrs         Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35           Desc Main
                                   Document     Page 173 of 174


              g) SOFA Question 3 - Payments to Creditors within 90 Days. All amounts that the
                 Debtor paid to any creditor within 90 days of the Petition Date are listed on SOFA
                 Question 3 (that total more than $6,825 in the aggregate for any individual
                 creditor). In addition, the Debtor also made numerous transfers of goods to
                 customers during the 90 day period before the Petition Date, which may have
                 been on account of an antecedent debt. The value of these transfers is not
                 liquidated at this time, and the Debtor reserves all of its rights to amend the
                 Schedules and Statement to account for these liquidated transfers or otherwise.

              h) SOFA Question 11 - Payments Related to Bankruptcy. The Debtor paid
                 $548,659.93 in the aggregate for professional services rendered and expenses
                 incurred by McDonald Hopkins LLC, Aurora Management Partners, Inc. and
                 Kelley & Clements LLP during the 12 months preceding the Petition Date. Based
                 on the fact that such professionals were engaged to provide a variety of services,
                 only a portion of this amount is attributable to debt counseling or bankruptcy
                 preparation; however, the specifics of such amount cannot be readily ascertained
                 with any accuracy.

              i) SOFA Question 30 – Payments that Benefited Any Insider: Wages and other
                 payments to insider individuals are reflected in SOFA Question 4, and are not
                 duplicated in Question 30.




{8143197: }                                       6
 Case 19-21054-jrs   Doc 71    Filed 06/19/19 Entered 06/19/19 17:50:35      Desc Main
                              Document     Page 174 of 174


June 19, 2019                    Respectfully submitted,

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{8143197: }                                 7
